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 Case 2:21-cv-05427-RGK-MRW Document 58 Filed 05/27/22 Page 2 of 2 Page ID #:307




1                                ORDER AND JUDGMENT:
2          FOR GOOD CAUSE APPEARING, THE FOLLOWING IS HEREBY
3    ORDERED:
4          A Judgment in the amount of _______________
                                        $ 35,905.48    is hereby entered against
5    Unger Fabrik, LLC and in favor of Meridian Textiles, Inc., along with interest in
6    the amount prescribed by statute.
7

8          SO ORDERED.
9

10   Date ___________,
             May 27    2022                By:     ____________________________
                                                     ________________
                                                   Hon.
                                                    on R.
                                                        R Gary
                                                           Gar Klausner
                                                                 Kla sn Presiding
11
                                                   United States District Judge
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